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                           Arrest Report                                   Lexington Police Department


                                   ARREST REPORT
Case #




 On June 3, 2022 I Of ficer Shiers was at the Police Department booking a female on bench warrants. As
 I started transporting her out of the PoliceDepartment I notice that there were several people in the

 cursing saying this is flicking bullshit. At that time I realised that he was there trying to bond the female I
 was tra nspi _v__
                 na out of Ja il I then placed the fe male into the rear seat of m y patrol .ar and was
 shutyting the door when Mr. Redmond stateri_that he wasn't going any where I ordered Mr. Red mond
 m ulitipal times to leave the parking lot because—be was causing a disturbance. Mr. Red mond refused
 and continued to curse. I then told Mr Redmond he was under arrest and to place his hands behind his
 back. Mr. Redmond began to pull away from me then started locking his arms in attempt to keep me
 from getting cuffs on him. Of  ficer Scott and Chief Dobbins then assisted me in getting cuffs on Mr.
 Red mond. Mr. Redmond was then placed in Officer Scott's patrol car and transported to the Holmes
 County Jail. Fnd Of Report




                                          ADDITIONAL SHEET ATACHED YES I I                       NO   1
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                          SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                          PAGE # 2
                                                    Exhibit "K"
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  AFFIDAVIT
                                             Case#
  STATE OF MISSISSIPPI                       Page#
                                            Docket#
     HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington             Mississippi      ficer James Shiers
                                                 Of
                                              7
  makes affidavit on information and belief that
                    Eric Redmond                        on or about
  the 3rd        day of         June         , 2022 in the    City of
        Lexington       Mississippi , County aforesaid, did
  willfully and unlawf
                     ' ully, resist by pulling away and refusing
  to place his hands behind his back his lawful arrest by
  James Shiers, a local law enforcement of      ficer.



                             [97-9-73}




 against the peace and dignity of the st e of Mis~si sippi and / or
 said City .
                                                     ?/)


Sworn to and subscribed before me this the         03          day

of      ,
      JU/k            71-699

                                         ziztA         4-64e,0
                                  Muni' ipal Judge / Court Cerk
     Case 3:22-cv-00479-TSL-MTP    Document 28-8    Filed 09/07/22      Page 3 of 5

                 iOn

     AFFIDAVIT
                                               Case#     D,t3-
                                                             2
  STATE OF MISSISSIPPI                         Page#      8 S
                                              Docket#
     HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington         , Mississippi     Of
                                                ficer James Shiers
  makes affidavit on information and belief that
                    Eric Red mond                      on or about
  the 3rd        day of        June        , 2022 , in the City of
        Lexington       Mississippi , County aforesaid, did
  willfully and unlawfully, with intent to provoke a breach of
  peace,refuse to comply with the com mand of James Shiers
  a law enforcement of  ficer who had the authority to then and
  there arrest any person for a violation of the law, to leave
  the parking lot at the police department


                                  [97-35-7(1)
                                            ]



 against the peace and dignity of the stat4             ippi and / or
 said City .



Sworn to and subscribed befor- me this the         63           day

of


                                    unicipal Judge / Court Clerk
Case 3:22-cv-00479-TSL-MTP          Document 28-8         Filed 09/07/22      Page 4 of 5

                    LEXINGTON POLICE DEPARTMENT
                       STATEMENT OF CHARGE(5)
    TO: WA1DEN;liffftC




            -111`I 1 11
    ADDRESS:)                            eg tv
                                             (i-4/ 47
                                                    (- k(1

    CITY;/--fil f1"- -                      STATE: Pl.'C. ZIP:

    SSW:

    HT: 6 If               )
                           4d-        . EYES: iff
                                                t •            HAIR    fri-IC

   .CHARGE (S):                   (-2 761c-ea           1.• itro
     12t.J15m /if 51 .


                                       BONO AMOUNT:$ 1 :9-13.5°

    •    • The above.named:defendant is being brought to MERU'on the charge (s)
   mentioned above. You ire requested to htcarcerafte s- aid defendant uittil heishe shall
   either post the required bond set forth above, or untilproperly given his liberty by
   the municipal court ofthe below listed municipaliti

          This defendantis being broughtto yourjailfor incarceration by the Lexington
   Police Departmentfor      •


   This                         day of                             ,20
Case 3:22-cv-00479-TSL-MTP         Document 28-8      Filed 09/07/22    Page 5 of 5




                     AUTHORIZATION OF RELEASE FROM 1-1FiRCF



     TO: U uZC F

                         !
     FROM:(...-exiltic,ten O

    DATE:(
         :
         )(e           -
                             •      i
      The Lexington Police Departnient on the above date give authorization for
  •.' rel'easeofthe following subjeld held/ incarcerated in youpfacility by our
      department.




   ADDRESS

   CHARGES                         ,
                          .,011 Atke
                    orJai C          4.             ft.A;C .10



                            EXPLANATION OF RELEASE
